       Case 1:19-cv-02295-SDG Document 38-1 Filed 03/10/20 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


KATIE GHERTNER,        :
                       :
Plaintiff,             :
                       : CIVIL ACTION NO.: 1:19-CV-02295
v.                     :
                       :
CORPORATE ENVIRONMENTS :
OF GEORGIA, INC.,      :
                       :
Defendant.             :
                       :

   DEFENDANT CORPORATE ENVIRONMENTS STATEMENT OF
  MATERIAL FACTS AS TO WHICH GENUINE ISSUES EXIST FOR
                         TRIAL
COMES NOW, CORPORATE ENVIRONMENTS OF GEORGIA, INC.

(hereinafter “Corporate Environments”) Defendant in the above-styled action,

and shows the Court that genuine issues exist for trial as to the following material

facts so as to preclude the granting of Plaintiff’s motion:

   1. Whether the Project Designer position was an equivalent position to the

      A&D position;

   2. Whether the Project Designer position compensation was equivalent to the

      A&D position;
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  3. Whether the Project Designer position benefits was equivalent to the A&D

     position;

  4. Whether the Project Designer position status and privileges was equivalent

     to the A&D position;

  5. Whether the Project Designer position status and privileges was equivalent

     to the A&D position;

  6. Whether the Project Designer position involved substantially similar duties.



     This 10th day of March, 2020.




                                            Respectfully submitted,

                                            s/ Alexandra Bowen Higgins
                                            ALEXANDRA BOWEN HIGGINS
                                            Georgia State Bar No. 071105
                                            Attorneys for the Defendant



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                       :
        Defendant.     :
                       :

                         CERTIFICATE OF SERVICE

This is to certify that on March 10, 2020, I served all counsel of record in
the foregoing matter with a copy of DEFENDANT CORPORATE
ENVIRONMENTS OF GEORGIA, INC.’S STATEMENT OF MATERIAL
FACTS AS TO WHICH GENUINE ISSUES EXIST FOR TRIAL

via electronic mail as follows:

                          COUNSEL FOR PLAINTIFF
                                Andrew L. Weiner
                            WEINER & SAND, LLC
                              3525 Piedmont Road
                           7 Piedmont Center 3rd Floor
                             Atlanta, Georgia 30305
                         aw@atlantaemployeelawyer.com
      Case 1:19-cv-02295-SDG Document 38-1 Filed 03/10/20 Page 4 of 4




     This 10th day of March, 2020.

                                     Respectfully submitted,

                              By:    s/Alexandra Bowen Higgins
                                     ALEXANDRA BOWEN HIGGINS
                                     Georgia State Bar No. 071105
                                     Attorney for the Defendant


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